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 6
 7                            UNITED STATES DISTRICT COURT

 8                                   DISTRICT OF NEVADA
 9     UNITED STATES OF AMERICA,                    CASE NO.: 2:20-cr-00126-APG-VCF
10
                                  Plaintiff,
11              vs.                                 MOTION TO REOPEN DETENTION
                                                    HEARING (ECF DKT. #15; ECF
12
       RICARDO DENSMORE,                            DKT. #34) UNDER 18 U.S.C. §
13                                                  3142(f)
                                 Defendant.
14                                                  Expedited Hearing Requested
15
16         COMES NOW, Defendant, RICARDO DENSMORE, by and through his attorney
17   IVETTE AMELBURU MANINGO, ESQ. of THE LAW OFFICES OF IVETTE
18
     AMELBURU MANINGO, and moves to this Honorable Court to reopen his detention
19
     hearing (ECF Dkt. #15; ECF Dkt. #34) and grant his release under 18 U.S.C. § 3142(f).
20
21   There are changed circumstances that now exist that warrant the Court’s hearing on this

22   Motion. There are conditions of release that will reasonably assure Mr. Densmore’s
23
     appearance and the safety of the community. 18 U.S.C. §3142(c)(1)(A) & (B)(i)-(B)(xiv).
24
           I.         RELIEF SOUGHT
25
26         18 U.S.C. §3142(f) provides that the “[detention] hearing may be reopened…at any
27
     time before trial if the judicial officer finds that information exists that was not known to
28
     the movant at the time of the hearing and that was a material bearing on the issue of
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     where there are conditions of release that will reasonably assure the appearance of such
 1
 2   person as required and the safety of any other person, and the community. A detention

 3   hearing may be reopened for the purpose of the Court receiving any information, within
 4   reason, not submitted at the original detention hearing. United States v. Barksdale, 2008
 5
     WL. 2620380 (E.D. Cal July 1, 2008).
 6
           Mr. Densmore seeks the following relief: to reopen his detention hearing based on
 7
 8   changed circumstances including: (1) a permanent stable residence has been fully explored

 9   and confirmed with Mr. Densmore’s father and longtime partner, Rena McIntyre; (2) Ms.
10
     Rena McIntyre is a viable, suitable custodian for Mr. Densmore; and (3) conditions of
11
     release can now be fashioned to reduce the likelihood of flight or danger to the community.
12
13         II.    PROCEDURAL BACKGROUND AND RELEVANT FACTS

14
           On June 4, 2010, the government filed a Complaint charging Tyree Walker,
15
     Devarian Haynes and Ricardo Densmore with Conspiracy to Commit Arson (18 U.S.C. §
16
17   844(n)) and Arson (18 U.S.C. § 844(i)) ECF Dkt. #1. These charges arose out of an incident

18   involving the fire damage of an unoccupied police vehicle that occurred at a protest in
19
     Downtown Las Vegas. The local protests were among thousands of protests occurring in
20
     the United States and throughout the world after the killing of George Floyd by law
21
     enforcement officers captured on tape in Minnesota. Densmore, a young African American
22
23   male, watched along with millions as Floyd was brutally suffocated by police for no

24   apparent reason. Walker, Haynes and Densmore attended the local downtown protests
25
     on May 31, 2020. While at the protests, the government has alleged that Walker and
26
     Haynes set an unoccupied Las Vegas Metropolitan Police Department car on fire while
27
28

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     Densmore recorded the event. The Complaint further asserts that Walker, Haynes and
 1
 2   Densmore all confessed to their involvement in the incident.

 3         On June 2, 2020, Walker and Haynes were arrested for their roles in the incident.
 4   While Densmore is not accused of lighting the fire, he is accused of and admitted to
 5
     recording the incident. As such, Densmore was also arrested and the initial appearance
 6
     for all three (3) defendants was scheduled for June 5, 2020. Undersigned counsel was
 7
 8   appointed to represent Densmore on June 4, 2015. On the morning of June 5, 2020, the

 9   undersigned scheduled a video meeting with Densmore to do the pretrial interview. There
10
     were multiple issues that day that caused significant delays in client/defendant
11
     interviews. In an apparent attempt to provided something to the court, Pretrial completed
12
13   a Report within thirty (30) minutes after the conclusion of the interview with Densmore

14   (this report will be referred to hereinafter as the “First Report”). The First Report was
15
     significantly incomplete and recommended detention. Specifically, the First Report stated
16
     that most of the information needed could not be obtained from Densmore which was
17
     inaccurate. Densmore actually provided answers to all of the questions but apparently due
18
19   to time constraints, Pretrial did not provide that information in the First Report and did

20   not verify the information provided. As such, the Pretrial officer made a recommendation
21
     of detention stating that Densmore posed a risk of non-appearance because of lack of
22
     information about background, lack of verified information about background, and
23
24   unknown mental/substance abuse.

25         At the hearing, the government sought detention for all three (3) defendants and
26
     did not argue the matter as a presumptive case under 18 U.S.C. §3142(e)(3)(C). Haynes
27
     initially proceeded and argued but thereafter postponed his detention hearing. Walker
28

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     proceeded and was released with conditions. Densmore proceeded with his detention
 1
 2   hearing and during breaks, Pretrial was able to verify information requested by the

 3   Magistrate. After receiving information from the undersigned and from Pretrial not
 4   contained in the First Report, Magistrate Judge Weksler ultimately found that conditions
 5
     could be fashioned to reasonably assure Densmore’s appearance and the safety of the
 6
     community and ordered Densmore released under strict conditions.
 7
 8         Magistrate Judge Weksler’s release order was made after a lengthy and thorough

 9   hearing, in which all the arguments of prosecutors and all three (3) defendants were
10
     considered, and after making detailed findings supporting the order. Specifically, as
11
     reflected in the undersigned’s notes from the hearing, Magistrate Judge Weksler found
12
13   that the government did not meet their burden regarding flight risk and danger to the

14   community. As to flight risk, the Magistrate noted that this was a serious and concerning
15
     crime which carried a serious five-year penalty. Additionally, noting that it being the least
16
     important factor, the Magistrate did find that the weight of the evidence (the existence of
17
     video of incident, Densmore’s confession to watching and recording the incident, etc.) was
18
19   in the government’s favor. Further, while Densmore did have some failures to appear

20   (FTAs), the FTA in 2014 had no disposition, and the FTAs appeared to be for traffic
21
     violations. Denmore’s record did not reflect repeated FTAs in the last two (2) years.
22
           In addition to the finding that the government did not meet their burden regarding
23
24   flight risk, Judge Weksler also found that the government did not meet their burden

25   regarding danger to the community. Again, the Magistrate noted that the nature and
26
     circumstances of the offense were concerning but that the context of the incident had to be
27
     considered. Based on Densmore’s history and the protests ensuing, this appeared to be an
28

                                                 4
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     isolated case under isolated and extreme circumstances.     The Magistrate found that
 1
 2   Densmore’s misdemeanor domestic violence charge that had serious allegations was a

 3   concern but that he had been successfully supervised, completing all the requirements of
 4   probation, including classes, fines and community service. As such, the Magistrate found
 5
     that overall, the government’s burden was not met.
 6
           After making these detailed findings and incorporating similar and additional
 7
 8   findings made during the hearings of the codefendants, Magistrate Judge Weksler ordered

 9   Densmore to be released under strict conditions, including amongst other conditions,
10
     house arrest at a friend’s residence and GPS monitoring, in which the device would be
11
     installed and activated first thing that Monday morning at his meeting with pretrial. In
12
13   addition to fashioning these strict conditions, the Magistrate gave stern warnings to

14   Densmore regarding his lock-down status. Nevertheless, the government orally moved for
15
     a stay of the release order. The Judge had previously discussed the request for the stay
16
     with the government during the Walker detention hearing and as with Walker, denied the
17
     government’s motion for a stay.
18
19         Later that Friday evening the Government filed an “Emergency Motion for Stay of

20   Magistrate Judge’s Release Orders Pursuant to 18 U.S.C. §3145(a).” ECF Dkt. #5. This
21
     Honorable Court granted the government’s motion late that night at which time the van
22
     that was transporting the defendants from Pahrump to Las Vegas for release turned
23
24   around and the defendants were placed back in detention center in Pahrump. Counsel for

25   Defendants Walker and Densmore briefed the matter over the weekend and both filed
26
     pleadings. Densmore filed his response to the governments pleading and a Motion for
27
     Immediate Release. ECF Dkt. #11. While Densmore’s motion was not ruled upon at the
28

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     time, on June 7, 2020, this Court denied Walker’s Motion for Immediate Release and set
 1
 2   a hearing for both Densmore and Walker on June 8, 2020. ECF Dkt. #10.

 3         On June 8, 2020, before the hearing, pretrial prepared another Report (hereinafter,
 4   “Second Report”) for Densmore that was much more detailed. Pretrial was able to verify
 5
     the residence in which he would be staying, talk to Densmore’s father and verified work
 6
     history.   The Second Report recommended that Densmore be released, without the
 7
 8   condition of house arrest.

 9         At the conclusion of the hearing, this Court ordered the release of Walker to a
10
     residence in Las Vegas and required a third-party custodian amongst other strict
11
     conditions. However, the Court did not order Densmore’s release, but instead ordered he
12
13   remain detained pending a written decision. On June 9, 2020, this Court entered an order

14   vacating the Magistrate’s release order and ordered that Densmore remain in detention.
15
     ECF Dkt. # 34. The Court outlined its reasons, highlighting that the primary concern
16
     which resulted in Densmore’s detention was that he did not have a stable living situation
17
     or third-party custodian. At the hearing, the proposed living arrangement had fallen
18
19   through. Densmore’s friend said she would or could not be a third-party custodian and had

20   only known Mr. Densmore for a couple of weeks. She did agree to have him stay with her,
21
     however, the Court found the proposed living arrangements unstable. ECF Dkt. #34, Pg.
22
     3. The Court also found that Densmore’s second choice for residence pending trial, his
23
24   biological father’s residence in Michigan, was not fully explored but could serve as a basis

25   to reopen detention if in fact the option was explored in more depth. ECF Dkt. #34, Pg. 7.
26
           Also, on June 8, 2020, Haynes had a detention hearing in front of Magistrate Judge
27
     Weksler. Haynes was granted pretrial release. The government requested a stay which
28

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     was denied, and Haynes was released pending the government’s appeal of the detention
 1
 2   order.

 3            Thereafter, while the Haynes appeal was still pending, the government took its case
 4   to the grand jury on June 16, 2020 and an Indictment was filed against Haynes, Walker
 5
     and Densmore the same day. Said Indictment charges the defendants with two (2) counts
 6
     of Conspiracy to Commit Arson (18 U.S.C. § 844(n)) and two (2) counts of Arson (18 U.S.C.
 7
 8   § 844(i); 18 U.S.C. § 844(f)(1)) ECF Dkt. #47.       Although the defendants’ Indictment

 9   resulted in a new case number and assignment to new Judges, this Court heard the
10
     Haynes appeal. As such, the appeal filed in the Haynes matter was heard and denied by
11
     this Court on June 17, 2020 and Haynes remains out of custody. During said hearing, this
12
13   Court made several comments and drew a couple of distinctions between Defendants

14   Haynes and Densmore. One of the issues, with respect to prior criminal history, was that
15
     while it was clear that Haynes’ wife, who he was to live with, was aware of Hayne’s
16
     domestic violence case because she was the named victim, it was unclear if Durant,
17
18   Densmore’s friend that he was to reside with, was aware that Densmore had a previous

19   DV misdemeanor conviction. ECF Dkt. #57, Pg. 25, ¶¶ 23-25 and Pg. 26, ¶¶ 1-9. More

20   significantly however, was the Court’s assertion was that the “key difference” between the
21
     detention decisions in Haynes’ case versus Denmore’s case that “tipped the balance” in
22
     favor of releasing Haynes was that that Haynes had “substantial support, both financial
23
24   and in terms of a place to live.” Dkt. #57 Pg. 23, ¶¶ 25 and Pg. 24, ¶¶ 1-23. Unlike

25   Densmore, Haynes was going to live with his wife and she and other family members
26
     willing to serve as third-party custodians. Densmore was simply going to live with a friend
27
     he knew for a short time and his family ties were not fully explored. Id. So, in the Court’s
28

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     view, Haynes situation was different than Densmore’s and closer to Walker’s, who was
 1
 2   also released. In sum, family ties and support for Haynes and Walker made it more likely

 3   that they would appear in court and not be a danger to the community. Dkt. #57, Pg. 24,
 4   ¶¶ 17-23.
 5
           This Court’s analysis during the Haynes’ hearing supports a reopening of
 6
     Densmore’s detention hearing and his release considering Densmore’s family ties and
 7
 8   support have now been fully investigated and developed and Densmore now has a solid

 9   plan for release which demonstrates the family support, both regarding a stable place to
10
     live with a third party custodian and other financial support.
11
           As with the Haynes matter, this Court is most familiar with the facts and
12
13   circumstances of the instant case and in particular, the detention orders and matters

14   related thereto. This Court has had several hearings in this case involving all three (3)
15
     defendants and has made findings and entered various orders related to detention,
16
     including the 6/5/20 Order ECF Dkt. #7 granting the stay of Densmore’s release ordered
17
     by Judge Magistrate Weksler and the 6/9/20 Order ECF Dkt. #34 further detaining
18
19   Densmore after review of the Magistrate’s release order. The instant Motion is made to

20   reopen the detention hearing from 6/8/20 that was heard before this Court ECF Dkt. #15
21
     resulting in the detention Order ECF Dkt. #34. As such, this Motion and any subsequent
22
     hearing on said Motion is properly before this Court.
23
24   //

25   //
26
     //
27
     //
28

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           III.   ARGUMENT
 1
 2         FUNDAMENAL PRINCIPLES OF LAW AND LIBERTY STRONGLY DISFAVOR
           PRETRIAL DETENTION
 3
 4         Pretrial detention is anathema to our justice system. See United States v.
 5
     Motamedi, 767 F.2d 1403, 1405 (9th Cir. 1985). Indeed, “federal law has traditionally
 6
     provided that a person arrested for a non-capital offense shall be admitted bail.” Id. To
 7
 8   this end, the Bail Reform Act (mandates release of a person facing trial under the least

 9   restrictive or combination of conditions that will reasonably assure the appearance of the
10   person as required.” Id. And pretrial release can be denied only if the court “finds that no
11
     condition or combination of conditions will reasonably assure the appearance of the person
12
     as required and the safety of any other person and the community. United States v. Hir¸
13
14   517 F.3rd 1081, 1086 (9th Cir. 2008) (quoting 18 U.S.C §3142(e)).

15         Moreover, all” [d]oubts regarding the property of release should be resolved in favor
16
     of the defendant,” ‘[o]nly in rare circumstances should be release be denied,’ and the
17
     government always bears the burden of proof. Motamedi, 767 F.2d at 1405-1406.
18
19   Ultimately, because “[a] critical liberty interest is at stake,” the court “should always

20   exercise [its] discretion with the recognition that pretrial detention may restrict for a
21
     significant time the liberty of a presumably innocent person.” United States v. Delker¸757
22
     F.2d 1390, 1398-99 (3rd Cir. 1985). Given the presumption of innocence, a defendant’s
23
     “right to bail should be denied only for the strongest of reasons.” Motamedi at 1407.
24
25   //

26   //
27
     //
28

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           THE GOVERNMENT CANNOT NOW MEET ITS BURDEN TO PROVE BY THAT
 1         NO COMBINATION OF CONDITIONS WILL REASONABLY ASSURE
 2         DENSMORE’S APPEARANCE AND THE SAFETY OF THE COMMUNITY UPON
           MR. DENSMORE’S RELEASE
 3
           Section 3142(g) provides the framework for determining whether there are
 4
 5   conditions of release that will reasonably assure the appearance of the person and safety

 6   of any other person or the community. The statute calls for a global approach, which
 7
     accounts for all available information concerning: (1) the nature and circumstances of the
 8
     offense charged; (2) the weight of the evidence against the person; (3) the history and
 9
10   characteristics of the person, including his character, physical and mental condition,

11   family ties, employment, financial resources, length of residence in the community,
12   community ties, past conduct, history relating to drug and alcohol abuse, criminal history,
13
     record concerning appearance at court proceedings; and (4) the nature and seriousness of
14
     the danger to any person or the community that would be posed by the person’s release.
15
16   18 U.S.C. §3142(g).

17         Mr. Densmore is charged with arson, 18 U.S.C. § 844(i), which is one of the
18
     offenses that carries a presumption that no condition or combination of conditions will
19
     be sufficient to permit a defendant to be released on bond, and therefore gives rise to a
20
21   presumption of detention. 18 U.S.C. §3142(e)(3)(C); see also § 2332b(g)(5)(B). See Dkt.

22   34, Pg. 3, 3-8. The presumption merely “imposes a burden of production on the defendant
23
     to put forth some credible evidence in order to rebut it.” United States v. Castaneda,
24
     2018 U.S. Dist. LEXIS 25266 at *11 (N.D. Cal. 2018). And, as the Ninth Circuit held in
25
     the United States v. Hir, 517 F.3d 1081, 1086 (9th Cir. 2008), “Although, the presumption
26
27   shifts a burden of production to the defendant, the burden of persuasion remains with

28   the government. A finding that a defendant is a danger to any other person, or the

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     community must be supported by clear and convincing evidence.” (Citations omitted,
 1
 2   emphasis added).

 3         The previous Order ECF Dkt. #34 detaining Densmore noted the lack of residence
 4   stability as the primary reason for detention. The focus of this Motion is related to this
 5
     issue and a change of circumstances thereto as a basis to reopen detention and release
 6
     Densmore. However, because the Court is required to consider all four (4) factors in
 7
 8   evaluating whether to detain or release Defendant to pretrial on his motion for reopening

 9   detention, Densmore will refer to prior orders and will address each factor separately for
10
     the Court to evaluate if he should now be released based on the new circumstances.
11
           1.     Nature and Circumstances of Offense Charged
12
13         When this Honorable Court considered the nature and circumstances of the instant
14
     offense to determine Mr. Densmore’s detention, the Court ruled that the nature and
15
     circumstances of the charged offense weigh against him. ECF Dkt. # 34, Pg.4. While the
16
17   Court acknowledge that this incident must be viewed in context and empathized with the

18   righteous indignation over the killing of George Floyd, the Court made its ruling based on
19
     the violent nature of the offense and the fact that arson is a serious crime because of the
20
     penalties Congress contemplated for those convicted of committing it. Citing United States
21
22
     v. Townsend. Townsend, 897 F.2d 989, 995 (9th Cir. 1990). ECF Dkt. # 34, Pg.4, ¶¶ 6-26.

23          Densmore is not disputing the violent nature of the arson that he is charged with.

24   However, Densmore’s actions should continue to be viewed in context, as he was clearly
25
     caught up in the intense emotions generated by the brutal killing and his participation in
26
     a legitimate protest. Additionally, it is important to point out that no one was injured in
27
28   any way. Moreover, in this case both codefendants, Walker and Haynes, who arguably


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     played more significant roles in this incident, have been released despite the Court’s
 1
 2   finding regarding the violent nature and circumstances of the charged offense. This was

 3   partly due the stable housing situation and the use of third-party custodians these young
 4   men were fortunate to have. Despite the Court’s findings regarding this factor weighing
 5
     against the defendants, Densmore is asking for reconsideration because he too now has
 6
     options for stable housing if he is released and the nature and circumstances of the offense
 7
 8   should be given the same weight as was given relative to his codefendants.

 9         2.     Weight of Evidence Against Defendant
10
           As the Court noted in its detention order, this “factor ‘is the least important of the
11
12   various factors.” United States v. Motamedi, 767 F.2d 1403, 1408 (9th Cir. 1985). ECF Dkt.

13   # 34, Pg. 5, ¶¶ 8-9. This factor may only be considered in terms of the likelihood that the
14
     person will fail to appear or will pose a danger to any person or to the community. See 18
15
     U.S.C. § 3142(g). ECF Dkt. # 34, Pg. 5, ¶¶ 8-9.
16
17         Densmore is not disputing that the weight of the evidence against him does not tip

18   in his favor. As mentioned at the two hearings regarding detention on June 5, 2020 and
19
     June 8, 2020, it appears the government has confessions from each of the defendants and
20
     a video recording of the alleged arson. However, the Court ruled that the “presumption of
21
     innocence is of paramount importance in our criminal justice factor and therefore does not
22
23   assign this factor much weight in the overall analysis.” ECF Dkt. # 34, Pg. 5, ¶¶ 20-22.

24   Therefore, this factor should again have little importance in considering Densmore’s
25
     release pending trial.
26
     //
27
28   //


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            3.     History and Characteristics of Mr. Densmore
 1
 2          Courts may consider the history and characteristics of the person, including his

 3   character, physical and mental condition, family ties, employment, financial resources,
 4   length of residence in the community, community ties, past conduct, history related to
 5
     drug and alcohol abuse, criminal history, [and] recording concerning appearance at court
 6
     proceedings. Motamedi, 767 F.2d at 1407 reciting 18 U.S.C. §3142(g). The Court has
 7
 8   previously ruled that this factor also weighs against Densmore’s release. ECF Dkt. # 34,

 9   Pg. 6, ¶ 7.
10
            The primary concern of the Court was the fact that Densmore did not have a fixed
11
     and stable place to live in Las Vegas at the time of the hearing. ECF Dkt. # 34, Pg. 6, ¶¶
12
13   7-17. This circumstance has changed which warrants the reopening of the detention

14   hearing and Densmore’s release. Densmore will now address the various factors under 18
15
     U.S.C. 3142(g) with an emphasis on issues relative to his residence and stability if
16
     released.
17
18                 A) Proposed Housing

19          Since the detention hearings on June 5, 2020 and June 8, 2020, undersigned counsel

20   has been able to confirm a stable residence and has located and interviewed a third-party
21
     custodian for Densmore. Said residence and custodian are in Michigan with his biological
22
     family and in Densmore’s view, the most stable and best option. However, Densmore is
23
24   also proposing an alternative options for the Court to consider as well.

25                 i.    Richardo Palmer and Rena McIntyre in Ypsilanti, Michigan
26
            Densmore’s father, Richardo Palmer, and his long-time partner, Rena McIntyre
27
     reside at 1419 McCarthy Street, Ypsilanti, Michigan 48198. Mr. Palmer is disabled and
28

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     currently unemployed. He has been in a long-term relationship with Rena McIntyre for
 1
 2   five (5) years but has known her for over fifteen (15) years. The couple have resided

 3   together at the McCarthy residence for three (3) years and McIntyre’s 19-year old son, who
 4   is employed, also lives with them. McIntyre currently works as a program manager at
 5
     EHM Senior Solutions and has been employed there for over ten (10) years. Palmer and
 6
     McIntyre have agreed to have Densmore reside with them indefinitely and throughout the
 7
 8   obligations of this case.

 9         Mr. Palmer does have a criminal history, therefore, Ms. McIntyre has agreed to be
10
     a third-party custodian for Densmore. The family is stable and are completely supportive
11
     of Densmore. They will provide a healthy, structured environment for Densmore while on
12
13   pretrial. Densmore is familiar with the town in Michigan and the house as he resided

14   with the couple for approximately two (2) months after being laid off of his job due to the
15
     pandemic. The experience was positive for both the couple, the rest of the family and for
16
     Densmore. They established bonds and have been in constant communication since he
17
     left Michigan. McIntyre affectionately considers Densmore her “bonus son,” as she is the
18
19   mother of three (3) other boys.

20         Palmer and McIntyre are aware of the circumstances of this case and understand
21
     the need for Densmore’s structure and support at this juncture. They are not only willing
22
     and able to provide a home and the emotional support Densmore needs but understand
23
24   and are willing to provide Densmore the financial support necessary until he is able to get

25   back to work and support himself again. Finally, McIntyre is willing to take on the
26
     responsibility and obligations of a third-party custodian in every respect and will ensure
27
28

                                                14
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     that Densmore is following all this Court’s orders, Pretrial’s conditions, and that he is
 1
 2   present at all court hearings and important meetings with his counsel.

 3                ii.   Halfway House
 4         At the previous June 5th detention hearing in front of Magistrate Judge Weksler,
 5
     Densmore’s counsel suggested Densmore be released to a half-way house as an alternate
 6
     option to the residence being considered. While this option was not fully explored during
 7
 8   the review hearing on June 8th, it should be considered as an alternate release plan here.

 9   If the Court is not inclined to grant Densmore’s release to Michigan, he requests that he
10
     be permitted to reside in a halfway house while awaiting trial. Although the halfway
11
     house is currently not taking patients due to COVID-19, it is the undersigned
12
13   understanding that the halfway house expects to be able accept referrals again sometime

14   in July. As an alternative to residing in Michigan with his family, Densmore could be
15
     released to the halfway house immediately upon a bed opening at the facility.
16
                  B) Characteristics
17
18         Densmore is a young, 24-year-old African American man. Densmore has not had an
19
     easy life. At the age of six (6), Densmore was removed from his home in Ann Arbor,
20
     Michigan and taken to Las Vegas to be placed in a foster home. Unfortunately, this did
21
     not make his life much easier. That foster home eventually became his adopted home and
22
23   Densmore was not afforded the nourishment, guidance, structure, love and care all

24   children need. In fact, the contrary was true. He was neglected, often going without things
25
     that he needed, and was physically abused. As Densmore got older, he realized that he
26
     was not wanted and was only being used as a pawn for his adoptive mother to obtain
27
28   excess money from the State.


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           At the age of 16, Densmore could not handle this mistreatment and decided to run
 1
 2   away. He lived between friends and girlfriends’ homes and eventually, when all other

 3   options were exhausted, Densmore returned to his abusive adoptive home until he
 4   graduated.    However, the neglect, abuse and instability in his childhood did not stop
 5
     Densmore from obtaining his high school diploma, gaining employment and eventually
 6
     saving enough money to rent an apartment with his friend.
 7
 8         In March 2020, during the COVID-19 crisis, Densmore found himself in an unstable

 9   situation again when he was laid off from his job with Special Operations Associates, Inc.
10
     (SOA). Densmore reconnected with his birth family and moved to Detroit, Michigan to
11
     spend time with his family who were supportive of him and his situation. In those two (2)
12
13   months, Densmore built a strong, genuine, supportive relationship with his father, Rena

14   McIntyre, and the rest of his biological family. He has been in constant contact with them
15
     since his return to Las Vegas and they continue to be supportive until this very day.
16
                  C) Physical and Mental Condition
17
18         Densmore is of sound mental condition and in overall good physical health. He did
19
     suffer a fracture in his hand shortly before his arrest and was scheduled to get a cast on
20
     his hand once the swelling went down. Since Densmore’s incarceration, he has been held
21
     in solitary confinement and has not been able to have anyone from the medical unit
22
23   examine him. There is concern that his hand will not heal correctly if the fracture is not

24   attended to properly. If granted release, Densmore will be able to get the medical attention
25
     that is necessary.
26
     //
27
28   //


                                                16
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                   D) Family Ties
 1
 2         As mentioned above, Densmore has not had an easy life filled with a large,
 3
     supportive family. However, before the COVID-19 crisis, Densmore was able to locate his
 4
     mother on social media and went to Michigan to meet her and was also able to connect
 5
 6   with his father. Although the meeting with his mother was not what he had hoped, the

 7   meeting with his father, Richardo Palmer, was significant and impactful. Densmore was
 8   taken in by his father and his father’s long-time partner, Rena McIntyre and her children.
 9
     Densmore immediately bonded with his dad and McIntyre. He was able to meet and also
10
     spend time with aunts, uncles and cousins. Mr. Densmore stayed with his father and
11
12   McIntyre for two (2) months at their McCarthy house and became incredibly close to his

13   new family.
14
           At the time of the detention hearing, Palmer offered financial support and a
15
     residence for an apartment for Densmore, however, without understanding the process
16
17   and the need for a thorough investigation, he previously declined to participate in a

18   background check. Palmer simply did not understand his obligation in this respect but
19
     now understands the process and has since provided Pretrial with all the necessary
20
     information so they could run a background check to finish their investigation.
21
           The Palmer/ McIntyre family has been nothing but supportive since Densmore’s
22
23   arrest. They have placed funds on their phone so they can talk and support Densmore and

24   have stayed in constant contact with undersigned counsel to see about his well-being and
25
     the status of his case. They are incredibly hopeful that Densmore will be released and can
26
     reside with them in Michigan and are willing to do whatever possible to facilitate his
27
28   release and support thereafter. Densmore has always craved familial support and he has


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     finally found it. The family will give him the structure and support he needs, and custodian
 1
 2   Rena McIntyre will serve as an excellent role model while ensuring that he follows through

 3   with his obligations in the underlying action.
 4                E) Employment
 5
 6         At Densmore’s age, it is merely impossible to have a lengthy work history.

 7   Nonetheless, Densmore was employed at SOA Security over the course of two (2) to three
 8   (3) years and same was verified by Pretrial. After his layoff during COVID-19, Densmore
 9
     was under the impression he was going back to work. In fact, he returned from Michigan
10
     fully expecting to have his job back. He was even given some detail that he would be
11
12   reporting to the El Cortez for security work shortly after the time of his arrest in mid to

13   late June. He only learned he no longer had a job when his supervisor informed Pretrial
14
     that they were not going to hire him back due to employment related issues. ECF Dkt. #
15
     34, Pg. 6, ¶¶ 14-15. Although, Densmore does not have a specific job lined up yet in
16
17   Michigan, the proposed custodian, Rena McIntyre, is willing to help him with the

18   application and hiring process at her company. McIntyre has been with her company,
19
     EHM, Senior Solutions for eleven (11) years and is a program manager. McIntyre is able
20
     to hire Densmore at her company if applies and clears a background check. The company
21
     is currently hiring for several positions, including elder hands-on care, and in the dietary
22
23   housekeeping, and groundskeeping departments.          Even if he is not hired at EHM,

24   Densmore is a young, healthy person with work experience and intends to find
25
     employment as soon as possible, wherever possible. His family intends to help him in this
26
     regard and as discussed herein, he does have financial support from his family in the
27
28   interim.


                                                18
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                  F) Financial Resources
 1
 2         Densmore does not have significant financial resources, savings or assets. However,
 3
     as mentioned above, Densmore can and will be financially supported by his family and
 4
     will also gain employment to help support himself and meet the obligations in this case.
 5
 6                G) Length of Residence in the Community/ Community Ties

 7
            Densmore has resided in Las Vegas since he was six (6) years old and has
 8
     community ties through many friends and through his employment here locally. As noted
 9
10   by this Court, there is no question that Densmore considers Las Vegas his home. ECF

11   Dkt. # 34, Pg. 6, ¶¶ 13-17. However, his family ties are outside of Las Vegas, as due to
12   neglect and abuse, he no longer has communications with his foster/adoptive family here
13
     in Las Vegas. These circumstances are of no fault of his own and the fact that he does not
14
     have a family home here in Las Vegas should not be used against him. Luckily, while a
15
16   local family-oriented stable residence is not available, he does have one in Michigan where

17   he can be easily supervised. He has in Michigan what he lacks in Las Vegas that the Court
18
     was concerned about, a stable residence and family members that will ensure his
19
     appearance at pre-trial hearings and trial. Additionally, it is clear that Densmore does
20
21   not have the desire or means to go anywhere other than Michigan to his family’s home. It

22   was already established during verification by Pretrial and at the detention hearing that
23
     Densmore has not traveled much outside of Nevada, with the exception of visiting family
24
     in Michigan, and does not have a passport. ECF Dkt. # 34, Pg. 7, ¶¶ 13-16. He will have
25
     no problem staying and residing in Michigan with his family and/ or remaining in Las
26
27   Vegas at a halfway house.

28   //

                                                19
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                   H) Past Conduct, Criminal History and Risk of Nonappearance
 1
 2          The Court expressed concern as to Densmore’s past conduct including his criminal
 3
     history and emphasized that Densmore has charges of contempt of court and two (2) failure
 4
     to appears. ECF Dkt. # 34, Pg. 6, ¶¶ 17-21. Regarding the failures to appear, Densmore
 5
 6   is requesting that the Court consider his age at the time and the nature of those incidences.

 7   The contempt of court and failures to appear on the driving an unregistered vehicle
 8   charges were originally citations. The failures to appear and contempt were for non-
 9
     payment of fines. While these failures on his part to come to court show a sense of
10
     irresponsibility, they should be considered in context and do not demonstrate that there
11
12   are no conditions that can be fashioned to assure it does not happen in this case. These

13   charges were also over two (2) years old. Densmore can be on house arrest, if the Court
14
     finds it necessary, to ensure that there is no risk of nonappearance.
15
            Additionally, the Court also expressed concern as to Densmore’s misdemeanor
16
17   charge for Battery DV in February 2019. While Densmore realizes this is not the forum

18   to relitigate or justify his behavior, as he did plead no contest to the charge, it is significant
19
     to note that he complied and completed all the responsibilities of that case, satisfying all
20
     the requirements ordered by that court during the probation period. Most significant in
21
     this context is that Densmore appeared at all his court hearings, obeyed all court orders
22
23   and case requirement (classes/fines/community service) and was successfully supervised

24   throughout.
25
            I.     Drug and Alcohol Abuse
26
27          Densmore has admitted to using marijuana during his pretrial interview but

28   denies, and has no history of, drug or alcohol addiction. He knows if he is released, he

                                                   20
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     cannot use marijuana and will not do so. Of course, Densmore can be and expects to be
 1
 2   tested while released to ensure drugs are not being used.

 3         4.     Nature and Seriousness of Danger to any Person or the Community that
                  would be Posed by Defendant’s Release
 4
 5         The Court heavily examined and found the nature and seriousness of danger to any

 6   person or the community neutral and determined that since the other three factors
 7
     weighed in favor of detention it did not affect the overall analysis. ECF Dkt. # 34, Pg. 7-8,
 8
     ¶¶ 5-12. This factor did not prevent codefendants, Walker and Haynes, who arguably had
 9
10   larger roles in the incident, from being released. As Densmore has already argued, while

11   he did record and post the incident, he did not participate in actually damaging the
12   unoccupied police vehicle. Moreover, he confessed to the wrongdoing, has showed remorse,
13
     has learned his lesson, and can be prohibited from attending protests as a part of his pre-
14
     trial supervision. This is an isolated incident that occurred under unique and particularly
15
16   emotionally charged circumstances. Densmore respectfully asks the Court to reconsider

17   his detention because he is not a risk or danger to the community and certain conditions
18
     can be fashioned to assure same.
19
           IV. CONCLUSION
20
21         Defendant Ricardo Densmore is the only defendant being detained in this case. His
22
     codefendant’s, who are accused of causing damage to an unoccupied police care while
23
     Densmore recorded the incident, and whom are not free of issues and factors that weighed
24
25   against their detention, have been released.     While Magistrate Judge Weksler’s issued

26   ordered Densmore released and thereafter Pretrial services also recommended Mr.
27   Densmore’s release, this Court disagreed and ordered Densmore detained pending trial.
28
     ECF Dkt. # 34. In doing so, this Court’s primary concern which ultimately resulted in
                                                 21
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     Densmore’s continued detention was that he did not have a stable living situation or third-
 1
 2   party custodian. In fact, the Court noted that an in-depth exploration of Defendant’s

 3   option to live with his family in Michigan could be a basis to reopen detention. ECF Dkt.
 4   # 34, Pg. 7, FN 8, ¶¶ 26-28.
 5
           Mr. Densmore, through undersigned counsel has thoroughly explored and
 6
     investigated Densmore’s release to his family in Michigan and has determined that
 7
 8   Densmore has a permanent stable residence with his father and longtime partner Rena

 9   McIntyre in Michigan and that Ms. McIntyre is a viable, suitable custodian for Mr.
10
     Densmore. Moreover, the possibility of Densmore’s release to a halfway house here in Las
11
     Vegas has also been investigated and if necessary, is available as an alternative residence
12
13   when a bed becomes available.

14         Therefore, there has been a change of circumstance that justifies the reopening of
15
     the detention hearing before this Court and conditions of release can now be fashioned to
16
     reduce the likelihood of flight or danger to the community. As such, it is requested that
17
     the issue of detention be reconsidered and that Mr. Richardo Densmore, like his
18
19   codefendants, who are apparently doing well on pretrial release, be released from custody

20   with appropriate conditions pending trial.
21
22         Dated this 26th day of June 2020.
                                                               /s/ Ivette Amelburu Maningo
23
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